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7
                                    UNITED STATES DISTRICT COURT
8
                                           DISTRICT OF NEVADA
9

10   UNITED STATES OF AMERICA ex rel.                       Case No.: 2:19-cv-01560-JAD-VCF
     TALI ARIK, M.D.,
11
                      Plaintiff/Relator,
12                                                                FIRST AMENDED COMPLAINT FOR
     vs.                                                            VIOLATIONS OF THE FEDERAL
13
                                                                         FALSE CLAIMS ACT
14   DVH HOSPITAL ALLIANCE, LLC, INC.
     d/b/a DESERT VIEW HOSPITAL;
15                                                                   JURY TRIAL DEMANDED
                      Defendants,
16

17
                                                       I.
18
                                              INTRODUCTION
19
             1.     This case involves a widespread, massive, intentional, and fraudulent billing scheme to
20
     the Medicare and Medicaid health insurance programs by Defendant DVH Hospital Alliance, LLC
21

22   d/b/a Desert View Hospital (“Desert View Hospital” or “Defendant”).

23           2.     This action arises under the Federal False Claims Act, 31 U.S.C. §§ 3729, et seq. (the
24   “False Claims Act”).
25
             3.     This Honorable Court has jurisdiction over this case pursuant to 31 U.S.C. §§ 3730(b)
26
     and 3732(a).
27
             4.     This Honorable Court also has jurisdiction over this case pursuant to 31 U.S.C. § 1331.
28

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            5.      This action is not based on a public disclosure.
1

2           6.      The operative allegations are based on the Relator’s direct knowledge.

3           7.      Venue is proper in this District pursuant to 31 U.S.C. § 3732(a) because the Defendant

4    transacts business in this District and because most, if not all, of the acts and omissions of which
5    Relator complains occurred in this District.
6
            8.      As required by 31 U.S.C. § 3730(b)(2), Relator has provided to the Attorney General of
7
     the United States and the United States Attorney for the District of Nevada a statement of material
8
     evidence and information that Relator possesses regarding this Complaint.
9

10          9.      Because the statement includes attorney-client communications and work product of

11   Relator’s counsel and was submitted to the Attorney General of the United States and the United

12   States Attorney, in their capacity as potential co-counsel in this litigation, the Relator understands the
13
     subject statement to be confidential.
14
                                                        II.
15
                                                    PARTIES
16
            10.     The Relator, Tali Arik, M.D. (“Dr. Arik” or “Relator”), is a resident of the State of
17

18   Nevada and has been a board-certified cardiologist since 1987.

19          11.     In or about January 2005, Dr. Arik began practicing medicine, in the field of

20   cardiology, in Pahrump, Nevada.
21
            12.     On or about November 15, 2015, Dr. Arik began seeing cardiac patients at Desert View
22
     Hospital, the only hospital in Nye County, Nevada, which serves a rural population of approximately
23
     forty-five thousand (45,000) people.
24
            13.     From January 1, 2018 to December 31, 2018, Dr. Arik served as Medical Chief of Staff
25

26   at Desert View Hospital.

27          14.     The United States of America (the “United States”) provides reimbursement to Desert

28   View Hospital for claims and requests for payment under Medicare, Champus, and Tricare.

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            15.     The United States also pays for a significant portion of claims and requests for
1

2    payments that are made to the Medicaid program of the State of Nevada.

3           16.     DVH Hospital Alliance, LLC is a Delaware corporation that owns, operates, and does

4    business as Desert View Hospital, a Critical Access Hospital in Pahrump, Nevada.
5                                                       III.
6
          THE FALSE CLAIMS ACT & THE IMPLIED FALSE CERTIFICATION THEORY
7
            17.     In salient part, the False Claims Act provides that any person who:
8
                    A. knowingly presents, or causes to be presented,               a   false or
9                      fraudulent claim for payment or approval;
10
                    B. knowingly makes, uses, or causes to be made or used, a false record
11                     or statement material to a false or fraudulent claim;

12                  C. conspires to commit a violation of subparagraph (A), (B), (D), (E), (F),
                       or (G)
13
                    …
14

15                  is liable to the United States Government for a civil penalty of not less
                    than $5,000 and not more than $10,000, as adjusted by the Federal Civil
16                  Penalties Inflation Adjustment Act of 1990 (28 U.S.C. 2461 note; Public
                    Law 104–410 [1]), plus 3 times the amount of damages which the
17                  Government sustains because of the act of that person.
18
     31 U.S.C. § 3729(a)(1).
19

20          18.     In Universal Health Services, Inc. v. United States, 136 S.Ct. 1989 (2016), the United

21   States Supreme Court explained that the Implied False Certification Theory applies “when a
22   defendant submits a claim, it impliedly certifies compliance with all conditions of payment. But if
23
     that claim fails to disclose the defendant’s violation of a material statutory, regulatory, or contractual
24
     requirement, so the theory goes, the defendant has made a misrepresentation that renders the claim
25
     ‘false or fraudulent’ under § 3729(a)(1)(A).” Id. at 1995.
26
            19.     Specifically, the United States Supreme Court held that, “[t]he implied false
27

28   certification theory can be a basis for FCA liability when a defendant submitting a claim makes


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     specific representations about the goods or services provided, but fails to disclose noncompliance
1

2    with material statutory, regulatory, or contractual requirements that make those representations

3    misleading with respect to those goods or services.” Id. at 1993-94.

4                                                      IV.
5     DESERT VIEW HOSPITAL AND ITS INTERACTIONS WITH GOVERNMENT HEALTH
6                              INSURANCE PLANS

7           20.     Desert View Hospital is a rural hospital with a Medicare Critical Access Hospital

8    (“CAH”) designation in accordance with 42 CFR § 485.601, et seq.
9           21.     CAH designation is given to eligible rural hospitals by the Centers for Medicare and
10
     Medicaid Services (“CMS”).
11
            22.     Congress created the CAH designation through the Balanced Budget Act of 1997 in
12
     response to the prevalence of rural hospital closures during the 1980s and early 1990s.
13

14          23.     The CAH designation is designed to reduce the financial vulnerability of rural hospitals

15   and improve access to healthcare by keeping essential services in rural communities.

16          24.     As a condition of participation, CMS requires that a CAH comply with applicable
17
     Federal laws and regulations related to the health and safety of patients, including the CAH regulations
18
     and the Emergency Medical Treatment and Labor Act (“EMTALA”), which are set forth below. 42
19
     CFR § 485.608.
20
            25.     As a further condition of participation, CMS requires that a CAH have “in effect an
21

22   agreement with at least one hospital…for [p]atient referral and transfer.” 42 CFR § 485.616(a)(1)

23   (emphasis added).

24          26.     As another condition for participation, CMS requires that a CAH maintain “no more
25
     than 25 inpatient beds. Inpatient beds may be used for either inpatient or swing-bed services.” 42
26
     CFR § 485.620(a) (emphasis added).
27

28

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               27.   In addition, as a condition of participation, CMS requires that a CAH have “agreements
1

2    or arrangements (as appropriate) with one or more providers or suppliers participating under Medicare

3    to furnish other services to its patients, including -(i) Services of doctors of medicine or osteopathy;

4    (ii) Additional or specialized diagnostic and clinical laboratory services that are not available at the
5    CAH….” 42 CFR § 485.635(c) (emphasis added).
6
               28.   Furthermore, Medicare participating hospitals (including a CAH) must meet the
7
     requirements of EMTALA, a Federal Regulation whose requirements are set forth in 42 CFR
8
     §489.24.
9

10             29.   Under the provisions of 42 CFR §489.24, hospitals with an emergency department that

11   participate in Medicare (including a CAH) are required under EMTALA to, among other things,

12   “[p]rovide for an appropriate transfer of the individual if either the individual requests the transfer or
13
     the hospital does not have the capability or capacity to provide the treatment necessary to stabilize
14
     the [Emergency Medical Condition] (or the capability or capacity to admit the individual)….” See
15
     salient portions of CMS Manual System, Transmittal 46 (May 29, 2009), Part II- Interpretive
16
     Guidelines- Responsibilities of Medicare Participating Hospitals in Emergency Cases. (Emphasis
17

18   added).

19             30.   “Hospitals [including a CAH] are required to adopt and enforce a policy to ensure

20   compliance with the requirements of 42 CFR §489.24 [EMTALA].” Id.
21
               31.   During the relevant time period, Desert View Hospital’s revenue was mostly derived
22
     from Medicare, Medicare Advantage, and Medicaid, a joint state-federal program in which healthcare
23
     providers serve financially disadvantaged or disabled patients and submit claims for government
24
     reimbursement.
25

26             32.   A CAH, such as Desert View Hospital, is paid for its services primarily by submitting

27   invoices to various payers, including Medicare, Medicare Advantage, Medicaid, CHAMPUS, and

28   Tricare.

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             33.        Based on information and belief, Desert View Hospital handles all billing,
1

2    reimbursement, and collection processes relating to its hospital services.

3            34.        Desert View Hospital, as a CAH, is not subject to Medicare’s Inpatient Prospective

4    Payment System (“IPPS”) or the Hospital Outpatient Prospective Payment System (“OPPS”).
5            35.        Rather, due to its CAH status, the Medicare program reimburses Desert View Hospital
6
     for most inpatient and outpatient services to Medicare patients under a “cost-based reimbursement.”
7
             36.        “Cost-based reimbursement” provides a tremendous financial advantage to CAHs (such
8
     as Desert View Hospital) by allowing them to be reimbursed at one hundred one percent (101%) of
9

10   costs on all their hospital Medicare revenue.

11           37.        Under Medicare guidelines, medical expenses must be prudent, reasonable, and related

12   to patient care.
13
                                                          V.
14
                                             SUMMARY OF CLAIMS
15
             38.        The Relator seeks to recover, on behalf of the United States, damages and civil
16
     penalties arising from Desert View Hospital’s violations of the Federal False Claims Act, 31
17

18   U.S.C. §§ 3729, et seq.

19           39.        Prior to January 10, 2019, Desert View Hospital was operating under the guidelines of

20   Federal law.          However, in doing so, Desert Valley Hospital’s patient admissions and
21
     testing/procedures were low, which resulted in severe financial distress for Desert View Hospital.
22
             40.        Consequently, Susan Davila (the CEO at Desert View Hospital) met with Relator (who
23
     was Medical Chief of Staff at Desert View Hospital at the time) on multiple occasions to discuss
24
     increasing admissions of patients, decreasing transfers from the hospital, and performing
25

26   tests/procedures in order to enhance the financial stability and profitability of Desert View Hospital.

27           41.        During a December 2018 meeting, Ms. Davila advised Relator and others that she had

28   relieved Rural Physicians Group (“RPG”) of their duties as hospitalists at Desert View Hospital

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     because they were not admitting a sufficient number of patients, were transferring too many patients
1

2    out of Desert View Hospital, and that RPG’s manner of practicing medicine was contrary to the

3    financial interests of Desert View Hospital.

4              42.   Ms. Davila further advised Relator that her “job was on the line” if more beds are not
5    filled at Desert View Hospital by increasing admissions and decreasing transfers in order to enhance
6
     revenue.
7
               43.   Ms. Davila further told Relator that more testing/procedures on patients must be
8
     performed in order to ensure the financial viability of Desert View Hospital.
9

10             44.   Finally, Ms. Davila advised Relator that Desert View Hospital will be entering into a

11   lucrative contract (believed to be approximately 30% more than RPG was paid) with Vista Health,

12   Mirza, M.D., P.C. (“Dr. Mirza”) to replace RPG and to assume the hospitalist duties at Desert View
13
     Hospital.
14
               45.   From approximately January 10, 2019 to the present, Desert View Hospital (in
15
     conspiracy with Dr. Mirza) implemented and executed a widespread scheme whereby it, among other
16
     things:
17

18                   (1) fraudulently and knowingly admitted patients to Desert View Hospital who required

19                   transfer to a higher level of care hospital in order to retain patients at Desert View

20                   Hospital in violation of CMS regulations and EMTALA, which resulted in increased
21
                     billing charges and reimbursements from, among others, Medicare and Medicaid;
22
                     (2) fraudulently and   knowingly subjected admitted    patients to   a   multitude   of
23
                     unnecessary medical testing/procedures in order to increase billing charges and
24
                     reimbursements from, among others, Medicare and Medicaid;
25

26                   (3) fraudulently and knowingly attributed false diagnoses and levels of severity of

27                   illness to patients in order to increase its billing charges and reimbursements from,

28                   among others, Medicare and Medicaid. This billing practice is known as “upcoding;”

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                    (4) fraudulently and knowingly performed medical procedures that it was not equipped
1

2                   and/or staffed to perform (such as pacemaker implants and cardioversions) in violation

3                   of, among other things, CAH regulations and EMTALA in order to increase its billing

4                   charges/reimbursements from, among others, Medicare; and
5                   (5) fraudulently and knowingly used “swing beds” as inpatient acute care hospital beds
6
                    in violation of CAH regulations (which limit Desert View Hospital to twenty-five (25)
7
                    acute hospital beds) in order to increase its billing charges and reimbursements from,
8
                    among others, Medicare and Medicaid.
9

10          46.     On or about May 17, 2019, after Relator’s concerns about Desert View Hospital’s

11   widespread violation of the law and jeopardizing patient safety went unremedied, Relator resigned

12   his medical privileges at Desert View Hospital.
13
            47.     Relator is presently the only resident cardiologist living and working in Pahrump,
14
     Nevada who provides full-time outpatient cardiology medical care to members of the community.
15
            48.     In such capacity, Relator is privy to highly sensitive and confidential medical
16
     records/charts that are generated at Desert View Hospital for his cardiology patients.
17

18          49.     Relator’s careful review of his patients’ medical records and while using his keen

19   understanding of the appropriate standards to diagnose and treat medical patients, has left Relator with

20   no doubt that Desert View Hospital has engaged and continues to engage in a fraudulent and
21
     widespread scheme to increase revenue at the expense of taxpayers in a blatant and willful violation of
22
     the False Claims Act.
23
            50.     Based on information and belief, despite Desert View Hospital’s knowledge of its
24
     willful and fraudulent scheme, Desert View Hospital billed the United States and was reimbursed tens
25

26   of millions, if not over a hundred million, of dollars of taxpayer money for claims that were wrongful,

27   not medically necessary, and/or inflated. Relator believes that Desert View Hospital’s widespread

28   scheme continues unabated.

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               51.   Based on information and belief, from January 2019 through May 2019 (due to Desert
1

2    View Hospital’s submission of claims in violation of the False Claims Act), Desert View Hospital’s

3    revenue grew by approximately 50% year-over-year for Humana Medicare Advantage patients and

4    likely for other government funded programs.
5                                                           V.
6
                              ALLEGATIONS AGAINST DESERT VIEW HOSPITAL
7
     (1)       Desert View Hospital Fraudulently and Knowingly Admitted Patients Who Required
8              Transfer to a Higher Level of Care Hospital for the Sole Purpose of Increasing Revenue
               at the Expense of the Taxpayers and Without Consideration of Patients’ Well-Being
9

10                   A. Cardiology Patients:

11             52.   The best course of care for patients presenting to a hospital with chest pain symptoms is

12   to develop a management care plan based on, among other things, patient medical history and
13
     objectively derived information from clinical imaging and laboratory data.
14
               53.   Multiple clinical trials with peer review and oversight by expert committees of the
15
     American College of Cardiology, American Heart Association, and European Society of
16
     Cardiology have set forth well-established standards for managing these patients.
17

18             54.   Relevant cardiology practice standards are available in review format through peer-

19   reviewed articles, a universally known medical resource www.uptodate.com, and established

20   textbooks of cardiology.
21
               55.   Braunwald’s Heart Disease A Textbook of Cardiovascular Medicine (“Braunwald’s
22
     Cardiology Practice Standards”) is the most authoritative book of cardiology. The most recent
23
     publication of Braunwald’s Cardiology Practice Standards (11th edition 2019) is used as a reference
24
     herein.
25

26             56.   Early Invasive Strategy is the standard for the so-called non-ST elevation myocardial

27   infarction [NSTEMI], the most common type of a heart attack. Braunwald’s Cardiology Practice

28   Standards, pg. 1203.

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            57.    References regarding this Early Invasive Strategy are described, documented, and
1

2    thoroughly discussed in Chapter 60 of the Braunwald’s Cardiology Practice Standards on page 1203,

3    and the associated table 60G.4 on page 1207.

4           58.    The subject table in Braunwald’s Cardiology Practice Standards describes four (4)
5    types of criteria for management of patients presenting to an acute hospital setting with symptoms of
6
     chest pain as follows: (1) Very-High-Risk Criteria; (2) High-Risk Criteria; (3) Intermediate-Risk
7
     Criteria; and (4) Low-Risk Criteria. Braunwald’s Cardiology Practice Standards, pg. 1207.
8
            59.    Braunwald’s Cardiology Practice Standards defines the various criteria as follows:
9

10                         -Very-High-Risk Criteria involves the following: (1) Hemodynamic (i.e., heart
                   rate and/or blood pressure) instability or cardiogenic shock (i.e.; lack of blood
11                 sufficient for organ function); (2) Life-threatening arrhythmias or cardiac arrest; (3)
                   Mechanical complications of MI (Myocardial Infarction); (4) Acute heart failure;
12                 and/or (5) Recurrent dynamic ST-T wave changes (an abnormal wave segment on an
                   EKG), particularly with intermittent ST-elevation.
13

14                        -High-Risk Criteria involves the following: (1) Rise and fall in cardiac troponin
                   (an enzyme released from the heart muscle that is indicative of heart muscle damage
15                 detected by analyzing blood samples) compatible with an MI; (2) Dynamic ST-T wave
                   changes without symptoms (silent); and/or (3) Elevated TIMI (a scoring system to
16                 determine the patient’s risk of a cardiac event such as an MI) > 4 or GRACE (another
                   assessment tool to determine acute risk) > 140.
17

18                         -Intermediate-Risk Criteria involves the following: (1) Diabetes mellitus; (2)
                   Renal insufficiency (kidney failure); (3) LVEF (Left Ventricular Ejection Fraction) <
19                 40% or congestive heart failure; (4) Early post MI angina (chest pain); (5) Prior PCI
                   (previous placement of a stent); (6) Prior CABG (prior bypass surgery); and/or (7)
20                 TIMI (2-3) or GRACE (109-140) risk score.
21
                           -Low-Risk Criteria involves none of the characteristics mentioned above.
22
     Braunwald’s Cardiology Practice Standards, pg. 1207.
23
            60.    Desert View Hospital is properly equipped to manage only patients who meet Low-
24
     Risk Criteria (i.e., patients presenting to the hospital with chest pain symptoms and do not meet the
25

26   Very-High-Risk Criteria, High-Risk Criteria, and/or the Intermediate-Risk Criteria).

27

28

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            61.     The management of all higher levels of risk require the presence of a cardiac
1

2    catheterization laboratory, cardiovascular physicians and support staff, and equipment to perform

3    interventional and surgical cardiac procedures.

4           62.     At all relevant times, Desert View Hospital did not have a cardiac catherization
5    laboratory that was equipped and staffed to perform interventional cardiac procedures.
6
            63.     The Early Invasive Strategy for patients meeting the characteristics set forth under the
7
     Very-High-Risk Criteria, High-Risk Criteria, and/or Intermediate-Risk Criteria is described in detail
8
     on page 1195 of Braunwald’s Cardiology Practice Standards.
9

10          64.     “A meta-analysis of 7 trials confirmed an overall significant 25% reduction in

11   mortality and a 17% reduction in nonfatal MI [Myocardial Infarction] after 2 years of follow-

12   up in patients managed with an early invasive strategy [i.e.; undergoing cardiac catherization after an
13
     MI].” Braunwald’s Cardiology Practice Standards, pg. 1195.
14
            65.     “Similar findings were reported in an individual patient level meta-analysis from 3
15
     contemporary randomized trials and involving 5467 patients who were followed for 5 years.” Id.
16
            66.     “Thus, an Early Invasive Strategy [immediate transfer to a higher level of care hospital
17

18   with a cardiac cath lab] is recommended in patients with NSTE-ACS who have ST segment changes

19   and/or positive troponin assay on admission, or in whom these high-risk features develop over the

20   subsequent 24 hours.” Id.
21
            67.     “Other high-risk indicators such as recurrent ischemia or evidence of congestive heart
22
     failure, also indicate an Early Invasive Strategy [immediate transfer to a higher level of care hospital
23
     with a cardiac cath lab].” Id.
24
            68.     Furthermore, “[a]n Early Invasive Strategy [immediate transfer to a higher level of
25

26   care hospital with a cardiac cath lab] is also advised in patients with NSTE–ACS previously treated

27   with CABG and in patients who have had NSTE–ACS within 6 months of a previous PCI.” Id.

28

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            69.     The following are examples of multiple patients that Desert View Hospital was
1

2    required to (and did not) transfer to a higher level of care hospital with a cath lab:

3           70.     Patient 1:

4                           Patient 1 presented to Desert View Hospital on ____________
                            with complaints of chest pain and cardiac enzymes diagnostic of
5                           myocardial infarction, a heart attack. Patient 1’s presentation was
6                           consistent with the High-Risk-Criteria.

7                           Dr. Mirza wrote in Patient 1’s chart, “stable for Lexiscan. I m [sic]
                            aware of elevated enzymes.” Dr. Mirza’s notation is consistent
8                           with a patient experiencing a heart attack.
9
                            However, rather than transfer Patient 1 to a higher level of care
10                          facility with a cardiac cath lab as required by well-established
                            cardiology guidelines and Federal Regulations, Patient 1 was
11                          admitted to Desert View Hospital and underwent an unnecessary
                            nuclear stress test on ______________.
12
                            According to Braunwald’s Cardiology Practice Standards,
13
                            patients (like Patient 1) having a heart attack must be immediately
14                          transferred to an acute care hospital that has a cardiac cath lab,
                            which is properly equipped and staffed to provide angiograms and
15                          coronary intervention (stents). Braunwald’s Cardiology Practice
                            Standards, pg. 290.
16
                            Patient 1 remained hospitalized at Desert View Hospital for three
17
                            (3) days and underwent an unnecessary nuclear stress test, a very
18                          costly test used to determine whether a patient has coronary artery
                            disease and heart attack risk. However, Patient 1 was already
19                          diagnosed with a heart attack using a very inexpensive blood
                            test. The subject nuclear stress test also subjected
20                          Patient 2 to increased risk of harm including, but not limited to,
                            death.
21

22                          Desert View Hospital (in order to improve its patient census and
                            increase its revenue) did not transfer Patient 1 to a higher level of
23                          care facility in violation of, among other things, 42 CFR § 485.608
                            (requiring compliance with Federal Regulations), 42 CFR §
24                          485.635(c)(requiring the transfer of patients to a higher level of
                            care), and EMTALA.
25

26                          Desert View Hospital, not only jeopardized the health and safety of
                            Patient 1, but Relator believes, that it willfully and fraudulently
27                          submitted a claim for thousands of dollars for services rendered to
                            Patient 1 and was paid by the government based on a false
28

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                           certification of compliance with Federal Regulations and
1                          EMTALA in violation of the False Claims Act.
2
              71.   Patient 2:
3
                           Patient 2 presented to Desert View Hospital on
4                          ______________with complaints of chest pain and cardiac
                           enzymes diagnostic of myocardial infarction, a heart attack.
5                          Patient 2’s presentation was consistent with High-Risk Criteria.
6
                           A notation on the nuclear stress test worksheet indicates that Dr.
7                          Mirza was aware of Patient 2’s elevated cardiac enzyme
                           (troponin), which is evidence of myocardial infarction.
8
                           However, rather than transfer Patient 2 to a higher level of care
9
                           hospital with a cardiac cath lab as required by well-established
10                         cardiology guidelines and Federal Regulations, Patient 2 was
                           admitted to Desert View Hospital and underwent an unnecessary
11                         nuclear stress test on __________________.

12                         According to Braunwald’s Cardiology Practice Standards,
                           patients (like Patient 2) having a heart attack must be immediately
13
                           transferred to an acute care hospital that has a cardiac cath lab,
14                         which is properly equipped and staffed to provide angiograms and
                           coronary intervention (stents). Braunwald’s Cardiology Practice
15                         Standards, pg. 290.

16                         Patient 2 was hospitalized at Desert View Hospital and underwent
                           an unnecessary nuclear stress test, a very costly test used to
17
                           determine whether a patient has coronary artery disease and heart
18                         attack risk. However, Patient 2 was already diagnosed with a heart
                           attack using a very inexpensive blood test. The subject nuclear
19                         stress test also subjected Patient 2 to increased risk of harm
                           including, but not limited to, death.
20
                           Desert View Hospital (in order to improve its patient census and
21
                           increase its revenue) did not transfer Patient 2 to a higher level of
22                         care facility in violation of, among other things, 42 CFR § 485.608
                           (requiring compliance with Federal Regulations) 42 CFR §
23                         485.635(c)(requiring the transfer of patients to a higher level of
                           care), and EMTALA.
24
                           Desert View Hospital, not only jeopardized the health and safety of
25
                           Patient 2, but Relator believes, that it willfully and fraudulently
26                         submitted a claim for thousands of dollars for services rendered to
                           Patient 2 and was paid by the government based on a false
27                         certification of compliance with Federal Regulations and
                           EMTALA in violation of the False Claims Act.
28   ///

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1       72.   Patient 3:

2                    Patient 3 presented to Desert View Hospital on
3                    _________________ with complaints of chest pain, abnormal
                     EKG and enzymes positive for myocardial infarction, a heart
4                    attack. Patient 3’s presentation was consistent with Very-High-
                     Risk Criteria.
5
                     Rather than transfer Patient 3 to a higher level of care hospital with
6                    a cardiac cath lab as required by well-established cardiology
7                    guidelines and Federal Regulations, Patient 3 was admitted to
                     Desert View Hospital on _________________.
8
                     According to Braunwald’s Cardiology Practice Standards,
9                    patients (like Patient 3) having a heart attack must be immediately
                     transferred to an acute care hospital that has a cardiac cath lab,
10
                     which is properly equipped and staffed to provide angiograms and
11                   coronary intervention (stents). Braunwald’s Cardiology Practice
                     Standards, pg. 290.
12
                     Patient 3 was hospitalized at Desert View Hospital without the
13                   necessary treatment until __________________.             Thereafter,
                     Patient 3 was finally and tardily transported to higher level of care
14
                     facility.
15
                     Desert View Hospital (in order to improve its patient census and
16                   increase its revenue) did not transfer Patient 3 to a higher level of
                     care facility for two (3) days in violation of, among other things,
17                   42 CFR § 485.608 (requiring compliance with Federal
                     Regulations) 42 CFR § 485.635(c)(requiring the transfer of
18
                     patients to a higher level of care), and EMTALA.
19
                     Desert View Hospital, not only jeopardized the health and safety of
20                   Patient 3, but Relator believes, that it willfully and fraudulently
                     submitted a claim for thousands of dollars for services rendered to
21                   Patient 3 and was paid by the government based on a false
                     certification of compliance with Federal Regulations and
22
                     EMTALA in violation of the False Claims Act.
23
        73.   Patient 4:
24
                     Patient 4 presented to Desert View Hospital on
25                   ____________________ with complaints of NSTEMI-type acute
                     coronary syndrome manifest as heart palpations, abnormal EKG,
26
                     and shortness of breath with positive cardiac enzymes (a heart
27                   attack). Patient 4’s presentation was consistent with High-Risk
                     Criteria.
28

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                     Dr. Mirza wrote in Patient 4’s chart that the patient will “get an
1                    echocardiogram, carotid ultrasound, and Lexiscan stress test for a
2                    further cardiac workup.”

3                    However, rather than transfer Patient 4 to a higher level of care
                     hospital with a cardiac cath lab as required by well-established
4                    cardiology guidelines and Federal Regulations, Patient 4 was
                     admitted to Desert View Hospital and underwent an unnecessary
5                    nuclear stress test on _________________ and other cardiac tests.
6
                     According to Braunwald’s Cardiology Practice Standards,
7                    patients (like Patient 4) having a heart attack must be immediately
                     transferred to an acute care hospital that has a cardiac cath lab,
8                    which is properly equipped and staffed to provide angiograms and
                     coronary intervention (stents). Braunwald’s Cardiology Practice
9
                     Standards, pg. 290.
10
                     Patient 4 was hospitalized at Desert View Hospital and underwent
11                   several unneeded cardiac tests and an unnecessary nuclear stress
                     test, a very costly test used to determine whether a patient has
12                   coronary artery disease and heart attack risk. However, Patient 4
                     was already diagnosed with a heart attack using a very inexpensive
13
                     blood test. The subject nuclear stress test also subjected Patient 4
14                   to increased risk of harm including, but not limited to, death.

15                   Desert View Hospital (in order to improve its patient census and
                     increase its revenue) did not transfer Patient 4 to a higher level of
16                   care facility in violation of, among other things, 42 CFR § 485.608
                     (requiring compliance with Federal Regulations), 42 CFR §
17
                     485.635(c)(requiring the transfer of patients to a higher level of
18                   care), and EMTALA.

19                   Desert View Hospital, not only jeopardized the health and safety of
                     Patient 4, but Relator believes, that it willfully and fraudulently
20                   submitted a claim for thousands of dollars for services rendered to
                     Patient 4 and was paid by the government based on a false
21
                     certification of compliance with Federal Regulations and
22                   EMTALA in violation of the False Claims Act.

23      74.   Patient 5:

24                   Patient 5 presented to Desert View Hospital on
                     _______________and was diagnosed with myocardial infarction,
25
                     NSTEMI-type (a heart attack). Patient 5’s presentation was
26                   consistent with High-Risk Criteria.

27                   In his notes, the admitting physician states in his plan, “if troponin
                     continued to be mounting upward trend probably need intervention
28

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                     cardiology services which will be discussed [sic].”        However,
1                    Patient 5 already had the diagnosis of NSTEMI.
2
                     Rather than transfer Patient 5 to a higher level of care hospital with
3                    a cardiac cath lab as required by well-established cardiology
                     guidelines and Federal Regulations, Patient 5 was admitted to
4                    Desert View Hospital and underwent an unnecessary nuclear stress
                     test on _________________and other cardiac tests.
5

6                    According to Braunwald’s Cardiology Practice Standards,
                     patients (like Patient 5) having a heart attack must be immediately
7                    transferred to an acute care hospital that has a cardiac cath lab,
                     which is properly equipped and staffed to provide angiograms and
8                    coronary intervention (stents). Braunwald’s Cardiology Practice
                     Standards, pg. 290.
9

10                   Patient 5 was hospitalized at Desert View Hospital and underwent
                     several unneeded cardiac tests and an unnecessary nuclear stress
11                   test, a very costly test used to determine whether a patient has
                     coronary artery disease and heart attack risk. However, Patient 5
12                   was already diagnosed with a heart attack using a very inexpensive
                     blood test. The subject nuclear stress test also subjected Patient 5
13
                     to increased risk of harm including, but not limited to, death.
14
                     Desert View Hospital (in order to improve its patient census and
15                   increase its revenue) did not transfer Patient 5 to a higher level of
                     care facility in violation of, among other things, 42 CFR § 485.608
16                   (requiring compliance with Federal Regulations), 42 CFR §
                     485.635(c)(requiring the transfer of patients to a higher level of
17
                     care), and EMTALA.
18
                     Desert View Hospital, not only jeopardized the health and safety of
19                   Patient 5, but Relator believes, that it willfully and fraudulently
                     submitted a claim for thousands of dollars for services rendered to
20                   Patient 5 and was paid by the government based on a false
                     certification of compliance with Federal Regulations and
21
                     EMTALA in violation of the False Claims Act.
22
        75.   Patient 6:
23
                     Patient 6 presented to Desert View Hospital on _____________
24                   with complaints of dizziness while undergoing dialysis. A blood
                     test revealed that the patient suffered from congestive heart failure,
25
                     and myocardial infarction with serum troponin 0.24. Patient 6’s
26                   condition was consistent with High-Risk Criteria.

27                   Rather than transfer Patient 6 to a higher level of care hospital with
                     a cardiac cath lab as required by well-established cardiology
28

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                    guidelines and Federal Regulations, Patient 6 was admitted to
1                   Desert View Hospital on ________________.
2
                    According to Braunwald’s Cardiology Practice Standards,
3                   patients (like Patient 6) having a heart attack must be immediately
                    transferred to an acute care hospital that has a cardiac cath lab,
4                   which is properly equipped and staffed to provide angiograms and
                    coronary intervention (stents). Braunwald’s Cardiology Practice
5                   Standards, pg. 290.
6
                    Desert View Hospital (in order to improve its patient census and
7                   increase its revenue) did not transfer Patient 6 to a higher level of
                    care facility in violation of, among other things, 42 CFR § 485.608
8                   (requiring compliance with Federal Regulations), 42 CFR §
                    485.635(c)(requiring the transfer of patients to a higher level of
9
                    care), and EMTALA.
10
                    Desert View Hospital, not only jeopardized the health and safety of
11                  Patient 6, but Relator believes, that it willfully and fraudulently
                    submitted a claim for thousands of dollars for services rendered to
12                  Patient 6 and was paid by the government based on a false
                    certification of compliance with Federal Regulations and
13
                    EMTALA in violation of the False Claims Act.
14
        76.   Patient 7:
15
                    Patient 7 presented to Desert View Hospital on
16                  _____________with complaints of worsening shortness of breath
                    due to congestive heart failure, in the context of multiple critical
17
                    diagnoses including a gastrointestinal bleed only one week prior.
18                  On admission, there was clinical and chest x-ray evidence of
                    congestive heart failure with further confirmation based on
19                  laboratory studies, and laboratory evidence of non-ST segment
                    elevation myocardial infarction.      Patient 7’s condition was
20                  consistent with Very-High-Risk Criteria.
21
                    Rather than transfer Patient 7 to a higher level of care hospital with
22                  a cardiac cath lab as required by well-established cardiology
                    guidelines and Federal Regulations, Patient 7 was admitted to
23                  Desert View Hospital on _______________.

24                  According to Braunwald’s Cardiology Practice Standards,
                    patients (like Patient 7) having a heart attack must be immediately
25
                    transferred to an acute care hospital that has a cardiac cath lab,
26                  which is properly equipped and staffed to provide angiograms and
                    coronary intervention (stents). Braunwald’s Cardiology Practice
27                  Standards, pg. 290.

28

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                     Desert View Hospital (in order to improve its patient census and
1                    increase its revenue) did not transfer Patient 7 to a higher level of
2                    care facility in violation of, among other things, 42 CFR § 485.608
                     (requiring compliance with Federal Regulations), 42 CFR §
3                    485.635(c)(requiring the transfer of patients to a higher level of
                     care), and EMTALA.
4
                     Desert View Hospital, not only jeopardized the health and safety of
5                    Patient 7, but Relator believes, that it willfully and fraudulently
6                    submitted a claim for thousands of dollars for services rendered to
                     Patient 7 and was paid by the government based on a false
7                    certification of compliance with Federal Regulations and
                     EMTALA in violation of the False Claims Act.
8
        77.   Patient 8:
9

10                   Patient 8 presented to Desert View Hospital on ____________
                     with complaints of cardiac instability and a history of coronary
11                   bypass surgery with congestive heart failure and rapid atrial
                     fibrillation.
12
                     Patient 8 already had an established cardiologist and
13
                     electrophysiologist in Las Vegas and was scheduled for evaluation
14                   and treatment of the atrial fibrillation condition with a procedure
                     (TEE/Cardioversion) not available at Desert View Hospital.
15
                     However, rather than transfer Patient 8 to a higher level of care
16                   hospital as required by well-established cardiology guidelines and
                     Federal Regulations, Patient 8 was admitted to Desert View
17
                     Hospital and underwent the very high risk cardioversion procedure
18                   (which was performed by Dr. Mirza) without TEE
                     (Transesophageal Echo), which unnecessarily placed Patient 8 at
19                   risk of a stroke. In addition, the subject procedure was performed
                     in the absence of a certified nurse anesthetist or anesthesiologist,
20                   with no intensive care bed available for monitoring of the patient
                     during and after the procedure, or in the event of a complication of
21
                     the Cardioversion, which unnecessarily put Patient 8 at risk of
22                   respiratory failure and arrest.

23                   Desert View Hospital (in order to improve its patient census and
                     increase its revenue) did not transfer Patient 8 to a higher level of
24                   care facility and performed a very high risk procedure on Patient 8
                     in violation of, among other things, 42 CFR § 485.608 (requiring
25
                     compliance with Federal Regulations), 42 CFR §
26                   485.635(c)(requiring the transfer of patients to a higher level of
                     care), and EMTALA.
27
                     Desert View Hospital, not only jeopardized the health and safety of
28                   Patient 8, but Relator believes, that it willfully and fraudulently

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                             submitted a claim for thousands of dollars for services rendered to
1                            Patient 8 and was paid by the government based on a false
2                            certification of compliance with Federal Regulations and
                             EMTALA in violation of the False Claims Act.
3
                    B. Neurology Patients:
4
            78.     The best course of care for patients presenting to a hospital with symptoms or signs of
5

6    a transient ischemic attack (TIA, aka mini-stroke) or cerebrovascular accident (CVA, aka stroke) is to

7    develop a management care plan based on, among other things, patient medical history and

8    objectively derived information from clinical imaging and laboratory data.
9
            79.     Multiple clinical trials with peer review and oversight by expert committees of the
10
     American Heart Association Stroke Council, Council on Cardiovascular Nursing, Council on
11
     Peripheral Vascular Disease, and Council on Clinical Cardiology have established standards for
12
     managing stroke patients and published these standards in important peer-reviewed journals.
13

14          80.     The most comprehensive such practice guideline was published in the journal “Stroke

15   Guidelines for the Early Management of Patients with Acute Ischemic Stroke,” January 31, 2013 (the

16   “Stroke Guidelines”).
17
            81.     The Stroke Guidelines are considered definitive and authoritative in the field of stroke
18
     care and management and are used herein as a reference.
19
            82.     The Stroke Guidelines “deal with the acute diagnosis, stabilization, and acute medical
20
     and surgical treatments of acute ischemic stroke, as well as early inpatient management, secondary
21

22   prevention, and complication management.” Stroke Guidelines, pg. 2.

23          83.     The Stroke Guidelines are to be followed by “prehospital care providers, physicians,

24   allied health professionals, and hospital administrators responsible for the care of acute ischemic
25
     stroke patients within the first 48 hours from stroke onset.” Id. at 1 (emphasis added).
26
            84.     According to the Stroke Guidelines, outcomes for stroke patients are significantly
27
     improved “within the first hours of acute stroke” if guidelines are followed. Id.
28

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             85.    Therefore, according to the Stroke Guidelines, a hospital is required to adhere to the
1

2    following guidelines relating to the evaluation and treatment of stroke patients:

3                           Patients should be transported rapidly to the closest available
                            certified PSC [Primary Stroke Center] or CSC [Comprehensive
4                           Stroke Center]….       In some instances, this may involve
                            aeromedical transport and hospital bypass.
5    Id. at 9.
6
             86.     According to the American Heart Association, a Certified Primary Stroke Center
7
     (“PSC”) must meet the following standards:
8
                    -A dedicated stroke-focused program;
9

10                  -Staffing by qualified medical professionals trained in stroke care;

11                  -Individualized care to meet stroke patients’ needs;

12                  -Patient involvement in their hospital care;
13
                    -Coordination of post-discharge patient self-care based on recommendations of the
14                  Brain Attack Coalition and guidelines published by the American Heart
                    Association/American Stroke Association or equivalent guidelines;
15
                    -Streamlined flow of patient information while protecting patient rights, security and
16                  privacy;
17
                    -Collection of the hospital’s stroke-treatment performance data;
18
                    -Hospital team performance data; and
19
                    -Use of data to assess and continually improve quality of care for stroke patients
20
     See http://www.heart.org/HEARTORG/Professional/HospitalAccreditationCertification/PrimaryStrok
21

22   eCenterCertification/Primary-%20%20Stroke-Center-Certification_UCM_439155_SubHomePage.jsp

23           87.    According to the American Heart Association, a Comprehensive Stroke Center

24   (“CSC”)
25
     must meet the following standards:
26
                    Eligibility standards include all components of a Primary Stroke Center
27                  plus:
                            -Availability of advanced imaging techniques, including
28                          MRI/MRA, CTA, DSA and TCD; and

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1                           -Availability of personnel trained in vascular neurology,
2                           neurosurgery and endovascular procedures;

3                           -24/7 availability of personnel, imaging, operating room and
                            endovascular facilities;
4
                            -ICU/neuroscience ICU facilities and capabilities; and
5

6                           -Experience and expertise treating patients with large ischemic
                            strokes, intracerebral hemorrhage and subarachnoid hemorrhage
7
     See:
8
     https://www.heart.org/HEARTORG/Professional/HospitalAccreditationCertification/ComprehensiveS
9
     trokeCenterCertification/Comprehensive-Stroke-Center-ertification_UCM_455446_SubHomePage.jsp
10

11          88.     At all relevant times referenced herein, Desert View Hospital was not a PSC and/or a

12   CSC.
13          89.     Based on information and belief, Spring Valley Hospital (a United Health Services
14
     subsidiary and CSC) is eighteen (18) minutes away from Desert View Hospital by helicopter
15
     transport and less than sixty (60) minutes by ambulance.
16
            90.     In a peer-reviewed article entitled “The Value of Urgent Specialized Care for TIA and
17
     Minor Stroke” published in the influential New England Journal of Medicine on April 21, 2016, it
18

19   was stressed that patients presenting with symptoms of a TIA/minor strokes must be cared for by

20   “specialized TIA units in which urgent evidence-based care is delivered by stroke specialists.”
21          91.     At all relevant times referenced herein, Desert View Hospital did not have a
22
     specialized TIA unit and/or any stroke specialists on call or on staff.
23
             92.    The following are examples of multiple patients that Desert View Hospital was
24
     required to (and did not) transfer to a PSC, CSC, or TIA Unit at a PSC or CSC.
25

26           93.    Patient 9:

27                          Patient 9 presented to Desert View Hospital on _____________
                            with a diagnosis of cerebrovascular accident, a stroke patient.
28

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                      According to the Stroke Guidelines, patients (like Patient 9) having
1                     a stroke must be immediately transferred to a PSC or CSC.
2
                      However, rather than transfer Patient 9 to a PSC or a CSC, Patient
3                     9 was held in a swing bed.

4                     Desert View Hospital (in order to improve its patient census and
                      increase its revenue) did not transfer Patient 9 to a higher level of
5                     care facility in violation of, among other things, 42 CFR § 485.608
6                     (requiring compliance with Federal Regulations), 42 CFR §
                      485.635(c)(requiring the transfer of patients to a higher level of
7                     care), and EMTALA.

8                     Desert View Hospital, not only did it jeopardize the health and
                      safety of Patient 9, Relator believes that Desert View Hospital
9
                      willfully and fraudulently submitted a claim for thousands of
10                    dollars for services rendered to Patient 9 and was paid by the
                      government based on a false certification of compliance with
11                    Federal Regulations and EMTALA in violation of the False Claims
                      Act.
12
        94.   Patient 10:
13

14                    Patient 10 presented to Desert View Hospital on ___________
                      with a diagnosis of “TIA with left-sided weakness resolved with
15                    some numbness on the left side of the face.” However, this was
                      not a TIA because it was documented that there was not complete
16                    resolution. This was a cerebrovascular accident (a stroke) with
                      associated symptoms of speech difficulties and left facial droop
17
                      documented on presentation.
18
                      The emergency room admission was a “code white,” which is the
19                    universal alert that a patient is having a stroke AND the
                      designation for an acute stroke requiring evaluation based on a
20                    stroke protocol at a stroke center. The purpose of the alert is to
                      mobilize the resources needed to evaluate and treat the patient
21
                      diagnosed having an acute stroke.
22
                      According to the Stroke Guidelines, patients (like Patient 10)
23                    having a stroke must be immediately transferred to a PSC or CSC.

24                    However, rather than transfer Patient to a PSC or a CSC, Patient 10
                      was admitted into Desert View Hospital.
25

26                    Desert View Hospital (in order to improve its patient census and
                      increase its revenue) did not transfer Patient 10 to a higher level of
27                    care facility in violation of, among other things, 42 CFR § 485.608
                      (requiring compliance with Federal Regulations), 42 CFR §
28

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                     485.635(c)(requiring the transfer of patients to a higher level of
1                    care), and EMTALA.
2
                     Desert View Hospital, not only did it jeopardize the health and
3                    safety of Patient 10, Relator believes that Desert View Hospital
                     willfully and fraudulently submitted a claim for thousands of
4                    dollars for services rendered to Patient 10 and was paid by the
                     government based on a false certification of compliance with
5                    Federal Regulations and EMTALA in violation of the False Claims
6                    Act.

7       95.   Patient 11:

8                    Patient 11 presented to Desert View Hospital on _____________
                     with a diagnosis of cerebrovascular accident, a stroke.
9

10                   According to the Stroke Guidelines, patients (like Patient 11)
                     having a stroke must be immediately transferred to a PSC or CSC.
11
                     However, rather than transfer Patient 11 to a PSC or a CSC, Patient
12                   11 was admitted into Desert View Hospital.
13
                     Desert View Hospital (in order to improve its patient census and
14                   increase its revenue) did not transfer Patient 11 to a higher level of
                     care facility in violation of, among other things, 42 CFR § 485.608
15                   (requiring compliance with Federal Regulations), 42 CFR §
                     485.635(c)(requiring the transfer of patients to a higher level of
16                   care), and EMTALA.
17
                     Desert View Hospital, not only did it jeopardize the health and
18                   safety of Patient 11, Relator believes that Desert View Hospital
                     willfully and fraudulently submitted a claim for thousands of
19                   dollars for services rendered to Patient 11 and was paid by the
                     government based on a false certification of compliance with
20                   Federal Regulations and EMTALA in violation of the False Claims
                     Act.
21

22      96.   Patient 12:

23                   Patient        12 presented     to         Desert               View
                     Hospital on ________________ with a diagnosis of a TIA.
24
                     According to the Stroke Guidelines, patients (like Patient 12)
25
                     having a TIA must be immediately transferred to TIA Unit at a
26                   PSC or CSC.

27                   However, rather than transfer Patient 12 to a PSC or a CSC, Patient
                     12 was held at a swing bed.
28

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                     Desert View Hospital (in order to improve its patient census and
1                    increase its revenue) did not transfer Patient 12 to a higher level of
2                    care facility in violation of, among other things, 42 CFR § 485.608
                     (requiring compliance with Federal Regulations), 42 CFR §
3                    485.635(c)(requiring the transfer of patients to a higher level of
                     care), and EMTALA.
4
                     Desert View Hospital, not only did it jeopardize the health and
5                    safety of Patient 12, Relator believes that Desert View Hospital
6                    willfully and fraudulently submitted a claim for thousands of
                     dollars for services rendered to Patient 12 and was paid by the
7                    government based on a false certification of compliance with
                     Federal Regulations and EMTALA in violation of the False Claims
8                    Act.
9
        97.   Patient 13:
10
                     Patient 13 presented to Desert View Hospital on ______________
11                   with a diagnosis of a TIA.

12                   According to the Stroke Guidelines, patients (like Patient 13)
                     having a TIA must be immediately transferred to TIA Unit at a
13
                     PSC or CSC.
14
                     However, rather than transfer Patient 13 to a PSC or a CSC, Patient
15                   13 was held at a swing bed.

16                   Desert View Hospital (in order to improve its patient census and
                     increase its revenue) did not transfer Patient 13 to a higher level of
17
                     care facility in violation of, among other things, 42 CFR § 485.608
18                   (requiring compliance with Federal Regulations), 42 CFR §
                     485.635(c)(requiring the transfer of patients to a higher level of
19                   care), and EMTALA.

20                   Desert View Hospital, not only did it jeopardize the health and
                     safety of Patient 13, Relator believes that Desert View Hospital
21
                     willfully and fraudulently submitted a claim for thousands of
22                   dollars for services rendered to Patient 13 and was paid by the
                     government based on a false certification of compliance with
23                   Federal Regulations and EMTALA in violation of the False Claims
                     Act.
24
        98.   Patient 14:
25

26                  Patient 14 presented to Desert View Hospital on _____________
                    with a diagnosis of a TIA.
27

28

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                            According to the Stroke Guidelines, patients (like Patient 14)
1                           having a TIA must be immediately transferred to TIA Unit at a
2                           PSC or CSC.

3                           However, rather than transfer Patient 14 to a PSC or a CSC, Patient
                            14 was held at a swing bed.
4
                            Desert View Hospital (in order to improve its patient census and
5                           increase its revenue) did not transfer Patient 14 to a higher level of
6                           care facility in violation of, among other things, 42 CFR § 485.608
                            (requiring compliance with Federal Regulations), 42 CFR §
7                           485.635(c)(requiring the transfer of patients to a higher level of
                            care), and EMTALA.
8
                            Desert View Hospital, not only did it jeopardize the health and
9
                            safety of Patient 14, Relator believes that Desert View Hospital
10                          willfully and fraudulently submitted a claim for thousands of
                            dollars for services rendered to Patient 14 and was paid by the
11                          government based on a false certification of compliance with
                            Federal Regulations and EMTALA in violation of the False Claims
12                          Act.
13
                    C. Gastrointestinal Patients:
14
            99.     Gastrointestinal bleeding (“GI bleeding”) is associated with increased morbidity and
15
     mortality in patients of advanced age with clinically significant coexisting illnesses.
16
            100.    The     management      of    acute    lower    GI    bleeding     is      the   subject   of
17

18   a Clinical Practice Review titled Acute Lower Gastrointestinal Bleeding published in the prestigious

19   New England Journal of Medicine on March 16, 2017 (“GI Bleeding Standards”).

20          101.    According to the GI Bleeding Standards, “[c]olonoscopy should be the initial procedure
21
     for most patients presenting with acute lower gastrointestinal bleeding. It should generally be
22
     performed within 24 hours after presentation, after hemodynamic resuscitation and colon
23
     cleansing.” GI Bleeding Standards, pg. 1056.
24
            102.    During all relevant times herein, Desert View Hospital lacked the facilities, staff
25

26   (gastroenterologist), and equipment to perform emergency colonoscopy on patients available on a

27   twenty-four (24) hour basis.

28

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            103.    The following is an example of a patient that Desert View Hospital was required to
1

2    (and did not) transfer to higher level of care facility for the patient to undergo a colonoscopy.

3           104.    Patient 15:

4                           Patient 15 presented to Desert View Hospital on _____________
                            with serious rectal bleeding in the context of a history of coronary
5                           stents taking recommended dual antiplatelet therapy, consisting of
6                           aspirin and clopidogrel.

7                           According to the GI Bleeding Standards, patients (like Patient 15)
                            having a GI Bleed must be immediately transferred to a higher
8                           level facility to undergo a coloscopy.
9
                            However, rather than transfer Patient 15 to higher level of care
10                          facility to undergo a colonoscopy, Patient 15 was admitted into
                            Desert View Hospital.
11
                            Desert View Hospital (in order to improve its patient census and
12                          increase its revenue) did not transfer Patient 15 to a higher level of
                            care facility in violation of, among other things, 42 CFR § 485.608
13
                            (requiring compliance with Federal Regulations), 42 CFR §
14                          485.635(c)(requiring the transfer of patients to a higher level of
                            care), and EMTALA.
15
                            Desert View Hospital, not only did it jeopardize the health and
16                          safety of Patient 15, Relator believes that Desert View Hospital
                            willfully and fraudulently submitted a claim for thousands of
17
                            dollars for services rendered to Patient 15 and was paid by the
18                          government based on a false certification of compliance with
                            Federal Regulations and EMTALA in violation of the False Claims
19                          Act.

20                  D. Renal Failure Patients:
21
            105.    Acute Renal Failure/Acute Kidney Injury conditions require specialized nursing care,
22
     equipment, and consultants to be available daily.
23
            106.    During all relevant times herein, Desert View Hospital had no staff nephrologist and/or
24
     the capability to perform dialysis on patients who need it.
25

26          107.    The following are examples of patients that Desert View Hospital was required to (and

27   did not) transfer to higher level of care facility for the patient to consult with a nephrologist and/or to

28   undergo dialysis.

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        108.   Patient 16:
1

2                     Patient 16 presented to Desert View Hospital on _____________
                      with multiple critical medical condition including, but not limited
3                     to, renal failure and congestive heart failure, and pneumonia.

4                     Patients (like Patient 16) having renal failure and other organ
                      failures must be immediately transferred to a higher level facility
5                     to obtain critical care evaluation and treatment.
6
                      However, rather than transfer Patient 16 to higher level of care
7                     facility with an ICU where multiple medical specialists (including
                      a nephrologist and pulmonologist), equipment (such as a
8                     ventilator), and ancillary staff (critical care nurses) are available,
                      Patient 16 was admitted into Desert View Hospital.
9

10                    Desert View Hospital (in order to improve its patient census and
                      increase its revenue) did not transfer Patient 16 to a higher level of
11                    care facility in violation of, among other things, 42 CFR § 485.608
                      (requiring compliance with Federal Regulations), 42 CFR §
12                    485.635(c)(requiring the transfer of patients to a higher level of
                      care), and EMTALA.
13

14                    Desert View Hospital, not only did it jeopardize the health and
                      safety of Patient 16, Relator believes that Desert View Hospital
15                    willfully and fraudulently submitted a claim for thousands of
                      dollars for services rendered to Patient 16 and was paid by the
16                    government based on a false certification of compliance with
                      Federal Regulations and EMTALA in violation of the False Claims
17
                      Act.
18
        109.   Patient 17:
19
                      Patient 17 presented to Desert View Hospital on ______________
20                    with diagnoses of sepsis and pneumonia, in the context of
                      underlying congestive heart failure and renal failure.
21

22                    Patients (like Patient 17) having renal failure and other organ
                      failures must be immediately transferred to a higher level facility
23                    to obtain critical care evaluation and treatment.

24                    However, rather than transfer Patient 17 to higher level of care
                      facility with an ICU where multiple medical specialists (including
25
                      a nephrologist and pulmonologist), equipment (such as a
26                    ventilator) and ancillary staff (critical care nurses) are available,
                      Patient 17 was held at a swing bed and later admitted into Desert
27                    View Hospital.

28

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                                Desert View Hospital (in order to improve its patient census and
1                               increase its revenue) did not transfer Patient 17 to a higher level of
2                               care facility in violation of, among other things, 42 CFR § 485.608
                                (requiring compliance with Federal Regulations), 42 CFR §
3                               485.635(c)(requiring the transfer of patients to a higher level of
                                care), and EMTALA.
4
                                Desert View Hospital, not only did it jeopardize the health and
5                               safety of Patient 17, Relator believes that Desert View Hospital
6                               willfully and fraudulently submitted a claim for thousands of
                                dollars for services rendered to Patient 17 and was paid by the
7                               government based on a false certification of compliance with
                                Federal Regulations and EMTALA in violation of the False
8                               Claims. 1
9
              110.     Patient 18:
10
                                Patient 18 presented to Desert View Hospital on _____________
11                              with a diagnosis of acute renal failure and altered mental status.

12                              Patients (like Patient 18) having renal failure must be immediately
                                transferred to a higher level facility to obtain critical care
13
                                evaluation and treatment.
14
                                However, rather than transfer Patient 18 to higher level of care
15                              facility with an ICU where multiple medical specialists (including
                                a nephrologist and neurologist), and ancillary staff (critical care
16                              nurses) are available, Patient 18 was admitted into Desert View
                                Hospital.
17

18                              Desert View Hospital (in order to improve its patient census and
                                increase its revenue) did not transfer Patient 18 to a higher level of
19                              care facility in violation of, among other things, 42 CFR § 485.608
                                (requiring compliance with Federal Regulations), 42 CFR §
20                              485.635(c)(requiring the transfer of patients to a higher level of
                                care), and EMTALA.
21

22                              Desert View Hospital, not only did it jeopardize the health and
                                safety of Patient 18, Relator believes that Desert View Hospital
23                              willfully and fraudulently submitted a claim for thousands of
                                dollars for services rendered to Patient 18 and was paid by the
24                              government based on a false certification of compliance with
25

26   1
      In addition to failing to transfer Patient 17 (mentioned above) to a higher level of care facility to address renal failure,
     Desert View Hospital was required to transfer Patient 17 to a higher level of care hospital because Patient 17 was septic.
27   Desert View Hospital did not have and continues not to have an infectious diseases specialist on staff. See Severe Sepsis
     and Septic Shock, published in the New England Journal of Medicine, August 29, 2013.
28

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                            Federal Regulations and EMTALA in violation of the False Claims
1                           Act.
2
            111.    Patient 19:
3
                            Patient 19 presented to Desert View Hospital on _____________
4                           with multiple critical diagnoses of congestive heart failure, deep
                            vein thrombosis, acute renal failure, and atrial fibrillation with
5                           rapid ventricular response.
6
                            Patients (like Patient 19) having renal failure and other organ
7                           failures must be immediately transferred to a higher level facility
                            to obtain critical care evaluation and treatment.
8
                            However, rather than transfer Patient 19 to higher level of care
9
                            facility with an ICU where multiple medical specialists (including
10                          a nephrologist and pulmonologist), equipment (such as a
                            ventilator) and ancillary staff (critical care nurses), Patient 19 was
11                          admitted into Desert View Hospital.

12                          Desert View Hospital (in order to improve its patient census and
                            increase its revenue) did not transfer Patient 19 to a higher level of
13
                            care facility in violation of, among other things, 42 CFR § 485.608
14                          (requiring compliance with Federal Regulations), 42 CFR §
                            485.635(c)(requiring the transfer of patients to a higher level of
15                          care), and EMTALA.

16                          Desert View Hospital, not only did it jeopardize the health and
                            safety of Patient 19, Relator believes that Desert View Hospital
17
                            willfully and fraudulently submitted a claim for thousands of
18                          dollars for services rendered to Patient 19 and was paid by the
                            government based on a false certification of compliance with
19                          Federal Regulations and EMTALA in violation of the False Claims
                            Act.
20
                    E. Respiratory Failure Patients:
21

22          112.    Respiratory Failure medical conditions require specialized nursing care, equipment, and

23   consultants to be available daily.

24          113.    During all relevant times herein, Desert View Hospital had no staff pulmonologist
25
     and/or the capability to perform mechanical ventilation on patients who need it on a daily basis.
26
            114.    In addition to Patient 16 (discussed above) who suffered from respiratory failure and
27
     was not transferred, the following is another example of another patient that Desert View Hospital was
28

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     required to (and did not) transfer to higher level of care facility for the patient to consult with a
1

2    pulmonologist and/or to undergo mechanical ventilation.

3             115.   Patient 20:

4                           Patient 20 presented to Desert View Hospital on _____________
                            with acute hypoxic respiratory failure.
5

6                           Patients (like Patient 20) having respiratory failure must be
                            immediately transferred to a higher level facility to obtain critical
7                           care evaluation and treatment.

8                           However, rather than transfer Patient 20 to higher level of care
                            facility with multiple medical specialists (including a
9
                            pulmonologist), equipment (such as a ventilator) and ancillary staff
10                          (critical care nurses), Patient 20 was admitted into Desert View
                            Hospital.
11
                            Desert View Hospital (in order to improve its patient census and
12                          increase its revenue) did not transfer Patient 20 to a higher level of
                            care facility in violation of, among other things, 42 CFR § 485.608
13
                            (requiring compliance with Federal Regulations), 42 CFR §
14                          485.635(c)(requiring the transfer of patients to a higher level of
                            care), and EMTALA.
15
                            Desert View Hospital, not only did it jeopardize the health and
16                          safety of Patient 20, Relator believes that Desert View Hospital
                            willfully and fraudulently submitted a claim for thousands of
17
                            dollars for services rendered to Patient 20 and was paid by the
18                          government based on a false certification of compliance with
                            Federal Regulations and EMTALA in violation of the False Claims
19                          Act.

20   (2)      Desert View Hospital Fraudulently and Knowingly Subjected Admitted Patients to a
              Multitude of Unnecessary Medical Testing/Procedures in Order to Increase Billing
21
              Charges/Reimbursements from, among others, Medicare and Medicaid
22
              116.   Overutilization of healthcare resources has long been a concern of the government, the
23
     taxpayer, and professional medical societies.
24
              117.   The American College of Cardiology was an early leader in the development of criteria
25

26   to optimize the ordering of tests to facilitate the most information derived from testing at the highest

27   value.

28

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             118.      The authoritative source for appropriate cardiology testing is the ACC Appropriate Use
1

2    Criteria Methodology: 2018 Update: A Report of the American College of Cardiology Appropriate

3    Use Criteria Task Force, published in the Journal of the American College of Cardiology volume 71

4    #8 2018 pages 935 through 948 (the “Cardiology Appropriate Use Criteria”). The Cardiology
5    Appropriate Use Criteria is used as a reference herein.
6
             119.      The Cardiology Appropriate Use Criteria provides the following:
7
                              In response to the imperative to improve the utilization of
8                             cardiovascular procedures in an efficient and contemporary
                              fashion, the American College of Cardiology (ACC), along with
9
                              other relevant organizations, developed appropriate use criteria
10                            (AUC) for multiple procedures and testing modalities. The first
                              AUC document was published in 2005 and focused on indications
11                            for radionuclide imaging [also known as nuclear stress
                              testing]. During the ensuing 12 years, 14 AUC documents have
12                            been published covering the appropriateness of individual cardiac
                              imaging procedures (radionuclide imaging, cardiac computed
13
                              tomography,       cardiac    magnetic      resonance     imaging,
14                            echocardiography, and diagnostic catheterization). Recently, AUC
                              documents         have      combined         these      diagnostic
15                            modalities into multimodality publications focused specifically on
                              the diagnosis and evaluation of disease states, such as stable
16                            ischemic heart disease detection and risk assessment, chest pain
                              evaluation in the emergency department, and cardiovascular
17
                              imaging in heart failure.
18
     Cardiology Appropriate Use Criteria, pg. 936.
19
             120.      Section 3.1 of the Cardiology Appropriate Use Criteria defines “appropriate use” as
20
     follows:
21

22                            An appropriate diagnostic or therapeutic procedures is one in
                              which the expected clinical benefit exceeds the risks of the
23                            procedure by a sufficiently wide margin, such that the procedure is
                              generally considered acceptable or reasonable care. For diagnostic
24                            imaging procedures, benefits include incremental information,
                              which      when      combined      with     clinical     judgment,
25
                              augments efficient patient care. These benefits are weighed
26                            against the expected negative consequences (risks include the
                              potential hazard of missed diagnoses, radiation, contrast, and/or
27                            unnecessary downstream procedures).

28   Id. at pg. 939.

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1            121.       In section 10 of the Cardiology Appropriate Use Criteria (titled “Conclusions”), it is
2
     reiterated that:
3
                               [T]he focus of the AUC is to encourage optimal patient care via
4                              professional      stewardship     of     technology       utilization
                               within cardiovascular medicine. The effort is to join with all
5                              cardiovascular practitioners and stakeholders in providing optimal
6                              clinical decision making to foster high-quality cardiovascular care
                               for patients, and to work toward patterns of care that both promote
7                              appropriate utilization and minimize use that lacks sufficient value
                               whenever possible…The AUC’s are now having an impact on the
8                              performance of tests and procedures and specific patient
                               populations, by providing a mechanism to achieve the goal of a
9
                               substantial reduction in waste due to unnecessary tests and
10                             procedures.

11   Id. at pg. 945-46.

12           122.   In addition, Chapter 3 of Braunwald’s Cardiology Practice Standards (which is titled
13
     “Clinical Decision Making and Cardiology”) is devoted to appropriate ordering of tests.
14
             123.       In Braunwald’s Cardiology Practice Standards, the following is stated:
15
                               Clinical reasoning should guide not only test interpretation, but
16                             also test ordering. Tests that are ordered for good reasons are more
                               conclusive, and tests that are ordered indiscriminately can cause
17
                               clinicians to arrive at the wrong conclusions. Ideally, a test should
18                             be used to validate or reject an articulated hypothesis–a plausible
                               conjecture that is generated by patient’s condition.
19
     Braunwald’s Cardiology Practice Standards, pg. 29.
20
             124.       “To aid with test selection and avoid overtesting, the American College of Cardiology
21

22   (ACC) and other organizations have developed appropriate-use criteria to guide clinicians’ decisions

23   about ordering cardiac tests.” Id.

24           125.       “This effort is driven by both the need to avoid excessive false-positive test results and
25
     the need to contain the cost of medical care.” Id.
26
             126.       “The goal of appropriate use guidelines is to reduce overuse errors and maximize the
27
     value of diagnostic testing and procedures.” Id.
28

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             127.    “The general principle of any test ordering strategy is that a plausible hypothesis (a
1

2    provisional diagnosis) should be formulated first, followed by testing.” Id.

3            128.    “The appropriate-use criteria are designed to avoid testing when the results are unlikely

4    to improve patient care or outcomes.” Id.
5            129.    As stated before, the ACC has appropriate use criteria for echocardiography and
6
     nuclear stress testing.
7
             130.    In Braunwald’s Cardiology Practice Standards, the echo criteria are delineated in table
8
     14G.1, pages 245-251.
9

10           131.    In Braunwald’s Cardiology Practice Standards, the nuclear stress criteria are

11   delineated in table 18G.1, pages 343-347.

12           132.    The before-mentioned criteria are published in the Journal of the American College of
13
     Cardiology volume 63 #4 2014 pages 382-406 under the title 2013 Multimodality Appropriate Use
14
     Criteria for the Detection and Risk Assessment of Stable Ischemic Heart Disease (the “2013
15
     Multimodality Appropriate Use Criteria”).
16
             133.    The following are examples of inappropriate, wasteful, and in some cases egregiously
17

18   and grossly inappropriate ordering of tests at Desert View Hospital, inconsistent with appropriate use

19   criteria. These results provide little to no value in the management of the patients cited here.

20           134.    Patient 21:
21
                               Patient 21 presented to Desert View Hospital on _____________
22                             with a diagnosis of congestive heart failure, one of many such
                               admissions for him.
23
                               This is a patient of the Relator with end-stage heart disease seen in
24                             the office only several days prior, ______________, and counseled
                               45 minutes regarding end-of-life decisions given the severity of his
25
                               condition. At the end of that counseling the patient elected to have
26                             a DNR status. This patient had already undergone extensive prior
                               outpatient testing establishing the severity of his condition.
27
                               Despite these facts, Patient 21 was admitted into Desert View
28                             Hospital on _______________. On _______________, Dr. Mirza

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                     ordered yet another echocardiogram, stating in his ____________
1                    progress note “congestive heart failure, improving. We will get an
2                    echocardiogram to see how the heart is pumping.” In the same
                     _______________ progress note, a few lines later, Dr. Mirza
3                    states, “we will also do a stress test on Wednesday to check the
                     heart.”
4
                     Neither of these tests was indicated because the results from the
5                    tests would not have changed the management of the patient in
6                    addition to the fact that they had been recently performed.

7                    Desert View Hospital, not only did it jeopardize the health and
                     safety of Patient 21 by performing the various unnecessary tests on
8                    Patient 21, Relator believes that Desert View Hospital willfully
                     and fraudulently submitted a claim for thousands of dollars for
9
                     these unnecessary medical tests and was paid by the government in
10                   violation of the False Claims Act.

11      135.   Patient 22:

12                   Patient 22 presented to Desert View Hospital on ______________
                     and was seen by Relator in consultation on _________________.
13

14                   This frail 86-year-old patient was admitted with a
                     several days history of weakness, fatigue, poor appetite, and
15                   abdominal discomfort. No cardiac complaints.

16                   Patient   22      already  had  an   echocardiogram   on
                     _________________. Despite that, the admitting physician
17
                     ordered another echocardiogram done on _______________,
18                   which Relator interpreted.

19                   In addition, the admitting physician ordered a nuclear stress test
                     despite the absence of any indication for such testing given that
20                   there were no active cardiac symptoms. Relator canceled the
                     study. The next day, the nuclear cardiac stress test was re-ordered
21
                     and performed despite Relator’s advising in prior consultation that
22                   the test is not warranted.

23                   Neither of these tests was indicated because the results from the
                     tests would not have changed the management of the patient in
24                   addition to the fact that the patient already had the echo and that
                     was no medical indication for the nuclear stress test. Most
25
                     importantly, the patient did not have any cardiac symptoms.
26
                     Desert View Hospital, not only did it jeopardize the health and
27                   safety of Patient 22 by performing the various unnecessary tests on
                     Patient 22, Relator believes that Desert View Hospital willfully
28                   and fraudulently submitted a claim for thousands of dollars for

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                      these unnecessary medical tests and was paid by the government in
1                     violation of the False Claims Act.
2
        136.   Patient 23:
3
                      Patient 23 presented to Desert View Hospital on or about
4                     ________________ and underwent an         echocardiogram
                      __________________.
5

6                     Patient 23 had already had a complete echocardiogram on
                      _______________. This test was repetitive having been done less
7                     than three (3) weeks earlier.

8                     The echo test was not indicated because the results from the test
                      would not have changed the management of the patient as one was
9
                      performed a few short weeks earlier.
10
                      By performing an unnecessary test on Patient 23, Relator believes
11                    that Desert View Hospital willfully and fraudulently submitted a
                      claim for this unnecessary medical test and was paid by the
12                    government in violation of the False Claims Act.
13
        137.   Patient 24:
14
                      Patient 24 presented to Desert View Hospital on _____________
15                    and underwent an echocardiogram on _____________ after
                      already having had multiple echoes within the preceding two (2)
16                    months.
17
                      Patient 24 had an office echocardiogram on _____________ and
18                    then underwent aortic valve replacement on ____________ with
                      another echo the day of surgery. Patient 24 was seen by Relator in
19                    follow-up office visit and had an appropriate postoperative
                      echocardiogram performed on ________________.
20
                      On _______________, Patient 24 was admitted into Desert View
21
                      Hospital with complaints of dizziness and dehydration. While
22                    admitted for less than forty-eight (48) hours, Patient 24 was
                      subjected to an MRI of the brain, chest x-ray, CT scan of the
23                    brain, and carotid ultrasound. In addition, another echocardiogram
                      was performed on ______________. No abnormal findings of any
24                    significance were noted on those tests as documented in the
                      discharge summary of ______________.
25

26                    None of these tests was indicated and did not correlate with Patient
                      24’s complaints during the hospitalization.
27
                      By performing multiple unnecessary tests on Patient 24, Relator
28                    believes that Desert View Hospital willfully and fraudulently

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                      submitted a claim for these unnecessary medical tests and was paid
1                     by the government in violation of the False Claims Act.
2
        138.   Patient 25:
3
                      Patient 25 presented to Desert View Hospital on ______________
4                     with a left molar tooth infection.
5                     Despite that and despite the absence of any cardiovascular
6                     symptoms or documentation of any abnormal cardiac findings on
                      examination, Patient 25 underwent an echocardiogram during the
7                     hospital admission.

8                     The test was not indicated and did not correlate with Patient 25’s
                      complaints during the hospitalization.
9

10                    By performing an unnecessary test on Patient 25, Relator believes
                      that Desert View Hospital willfully and fraudulently submitted a
11                    claim for this unnecessary medical test and was paid by the
                      government in violation of the False Claims Act.
12
        139.   Patient 26:
13

14                    Patient 26 presented to Desert View Hospital on _____________
                      with weakness and fatigue and found to have hyponatremia (low
15                    sodium level) when the laboratory studies returned.

16                    Despite the absence of any cardiac symptoms or any abnormal
                      cardiac findings on examination, Patient 26 underwent an
17
                      echocardiogram during the hospitalization.
18
                      In his admission note, Dr. Mirza stated, “because of history of
19                    hypertension, will get an echocardiogram.” However, history of
                      hypertension does not meet appropriate use criteria for obtaining a
20                    hospital echocardiogram in a patient admitted for noncardiac
                      reasons.
21

22                    The test was not indicated and did not correlate with Patient 26’s
                      complaints during the hospitalization.
23
                      By performing an unnecessary test on Patient 26, Relator believes
24                    that Desert View Hospital willfully and fraudulently submitted a
                      claim for this unnecessary medical test and was paid by the
25
                      government in violation of the False Claims Act.
26
        140.   Patient 27:
27
                      Patient 27 presented to Desert View Hospital on ______________
28                    after a recent discharge for airways disease and COPD. He was

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                      readmitted for similar reasons with admission diagnosis of COPD
1                     and sepsis.
2
                      In a _____________ progress note, Dr. Mirza states, “wife
3                     reported that he is not breathing well. She would like to have a
                      stress test and an echocardiogram done while he is here… Which I
4                     will order.”
5                     None of these tests was indicated and did not correlate with Patient
6                     27’s complaints during the hospitalization.

7                     By performing multiple unnecessary tests on Patient 27, Relator
                      believes that Desert View Hospital willfully and fraudulently
8                     submitted a claim for these unnecessary medical tests and was paid
                      by the government in violation of the False Claims Act.
9

10      141.   Patient 28:

11                    Patient 28 presented to Desert View Hospital on ______________
                      because of atrial fibrillation. This was 1 of at least 4 admissions
12                    for the same diagnosis in the past two (2) months at Desert View
                      Hospital.
13

14                    Despite having had multiple echocardiograms in the previous two
                      (2) months, including one at Summerlin Hospital to which she had
15                    been transferred in the interim for atrial fibrillation ablation and
                      insertion of a pacemaker, Patient 28 underwent yet another
16                    echocardiogram on ________________.
17
                      In his progress note of _______________, Dr. Mirza
18                    acknowledges a prior echocardiogram done at Summerlin Hospital
                      2 weeks before.
19
                      The test was not indicated due to recent multiple echocardiograms
20                    performed on Patient 28.
21
                      By performing an unnecessary test on Patient 28, Relator believes
22                    that Desert View Hospital willfully and fraudulently submitted a
                      claim for this unnecessary medical test and was paid by the
23                    government in violation of the False Claims Act.

24      142.   Patient 29:
25
                      Patient     29 presented   to     Desert     View     Hospital
26                    on _____________ with complaints of nausea and vomiting along
                      with passing of gas and diarrhea. Patient 29 had had a similar
27                    episode in ____________.

28

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                      Despite the absence of cardiac symptoms, Patient 29 underwent an
1                     echocardiogram and carotid ultrasound. In addition, in the
2                     discharge instructions by the nurse practitioner Cyndi Houtrouw,
                      she, among other things, states, “follow-up with Dr. Mirza as
3                     scheduled for TEE [transesophageal echocardiogram] and coronary
                      angiogram.
4
                      In other words, without having confirmed the presence or absence
5                     of a neoplasm suggested on abdominal CT, this 88-year-old
6                     woman is being arranged to undergo complex cardiac procedures
                      with high risk, in anticipation of a possible recommendation of
7                     high risk mitral valve surgery based on the hospital
                      echocardiogram, even though Patient 29 was not admitted with any
8                     cardiac symptoms.
9
                      None of these tests was indicated and did not correlate with the
10                    Patient 29’s complaints during the hospitalization.

11                    By performing multiple unnecessary tests on Patient 29, Relator
                      believes that Desert View Hospital willfully and fraudulently
12                    submitted a claim for these unnecessary medical tests and was paid
                      by the government in violation of the False Claims Act.
13

14      143.   Patient 30:

15                    Patient 30 presented to Desert View Hospital on _____________
                      with an admission diagnosis of palpitations and underwent a
16                    nuclear stress test on ________________.
17
                      In Dr. Mirza’s admission note, he states that the patient came to the
18                    hospital because of palpitations but had a normal cardiac rhythm
                      on arrival. Dr. Mirza further states that Patient 30 was excessively
19                    fatigued and deconditioned and therefore “needs a [sic] echo and
                      Lexiscan stress test, along with treatment as per ACC guidelines.”
20
                      Dr. Mirza failed to document anything to which any ACC
21
                      appropriate use testing guidelines apply. In addition, the nuclear
22                    medicine stress test does not meet any appropriate use criterion on
                      the basis of palpitations. Finally, there is no appropriate use
23                    criterion for performing an echocardiogram for the symptom of
                      palpitations.
24
                      None of these tests were indicated and did not correlate with
25
                      Patient 30’s complaints during the hospitalization.
26
                      Desert View Hospital, not only did it jeopardize the health and
27                    safety of Patient 30 by performing the various unnecessary tests on
                      Patient 30, Relator believes that Desert View Hospital willfully
28                    and fraudulently submitted a claim for thousands of dollars for

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                      these unnecessary medical tests and was paid by the government in
1                     violation of the False Claims Act.
2
        144.   Patient 31:
3
                      Patient 31 presented to Desert View Hospital on _____________
4                     with a chief complaint of groin pain due to an injury. In the
                      hospital emergency room, Patient 31 denied any cardiac
5                     symptoms.
6
                      In Dr. Mirza’s notes, he said that Patient 31 was admitted for
7                     “AFIB ACS.” However, Patient 31 did not have ACS [acute
                      coronary syndrome]. In his History and Physical, Dr. Mirza wrote,
8                     “Will get an echocardiogram to rule out ischemia.” An
                      echocardiogram is not an appropriate test in this context and will
9
                      not serve his reason for ordering it which was “rule out
10                    ischemia.” The test was ordered and performed. Patient 31 also
                      underwent a nuclear stress test.
11
                      None of these tests were indicated and did not correlate with
12                    Patient 31’s complaints during the hospitalization.
13
                      Desert View Hospital, not only did it jeopardize the health and
14                    safety of Patient 31 by performing the various unnecessary tests on
                      Patient 31, Relator believes that Desert View Hospital willfully
15                    and fraudulently submitted a claim for thousands of dollars for
                      these unnecessary medical tests and was paid by the government in
16                    violation of the False Claims Act.
17      145.   Patient 32:
18
                      Patient 32 presented to Desert View Hospital on _____________
19                    with notation in the admission history that there was chest pain that
                      had resolved by the time the patient arrived in the emergency
20                    room.      Patient 32’s EKG and cardiac enzymes showed no
                      evidence of myocardial infarction.
21
                      Patient 32 was diagnosed as Acute Coronary Syndrome (“ACS”).
22
                      However, Patient 32 did not meet the criteria for this diagnosis.
23
                      Nonetheless, Patient 32 was kept at Desert View Hospital and
24                    underwent an echocardiogram and a nuclear stress test. Patient
                      had already had an echocardiogram on ________________.
25
                      In addition, while at Desert View Hospital, Patient 32 also
26
                      underwent multiple other tests including a CT angiogram of the
27                    chest with history noted to be fever and cough, which patient did
                      not have according to the admission history, a CT scan of the
28                    abdomen and pelvis with and without contrast even though Patient
                      32 was admitted with chest pain, and an abdominal ultrasound two
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                      (2) days in a row even though nothing was mentioned in the
1                     admission history about abdominal symptoms.
2
                      None of these tests were indicated and did not correlate with
3                     Patient 32’s complaints during the hospitalization.

4                     Desert View Hospital, not only did it jeopardize the health and
                      safety of Patient 32 by performing the various unnecessary tests on
5                     Patient 32, Relator believes that Desert View Hospital willfully
6                     and fraudulently submitted a claim for thousands of dollars for
                      these unnecessary medical tests and was paid by the government in
7                     violation of the False Claims Act.

8       146.   Patient 33:

9                     Patient 33 presented to Desert View Hospital on ______________
                      with syncope/fainting.     In the admission history, it was
10
                      documented that Patient 33 was in no distress and, in the
11                    emergency room, she already underwent a brain CT scan that
                      showed no significant abnormality.
12
                      Despite the unremarkable brain CT scan, Patient 33 underwent a
13                    brain MRI scan on _______________. On admission, Dr. Mirza
                      inappropriately pre-determined that Patient 33 would be admitted
14
                      for 2-3 days.
15
                      While at Desert View Hospital, Patient 33 underwent multiple tests
16                    including an echocardiogram even though the physical exam
                      documented no abnormality of the heart. Patient 33 also
17                    underwent a nuclear medicine stress test for which there was no
                      appropriate use criterion met. In addition, Patient 33 underwent a
18
                      carotid ultrasound.
19
                      At the time of discharge, Patient 33 was not in stable condition
20                    with a blood pressure 99/56 (compared with the admission blood
                      pressure of 190/103) and a urinary tract infection, which was not
21                    treated while in the hospital, and documentation of renal function
                      that was decreased to 50% compared with what was documented
22
                      on admission.
23
                      In summary, none of these tests were indicated and did not
24                    correlate with Patient 33’s complaints during the hospitalization.
                      Patient 33 was admitted to Desert View Hospital with a simple
25                    fainting episode and underwent multiple unnecessary tests
                      including a full cardiac workup for which there was no indication,
26
                      and then after all of that discharged without her dehydration and
27                    urinary tract infection treated, with a blood pressure below 100,
                      which was unstable and unsafe blood pressure.
28

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                      Desert View Hospital, not only did it jeopardize the health and
1                     safety of Patient 33 by performing the various unnecessary tests on
2                     Patient 33, Relator believes that Desert View Hospital willfully
                      and fraudulently submitted a claim for thousands of dollars for
3                     these unnecessary medical tests and was paid by the government in
                      violation of the False Claims Act.
4

5       147.   Patient 34:
6                     Patient 34 presented to Desert View Hospital on _____________
7                     with chief complaint of shortness of breath due to pneumonia.
                      Prior to that admission, Patient 34 had been at Desert View
8                     Hospital during which admission she underwent implantation of a
                      pacemaker and subsequently developed pneumonia.
9
                      In the admission history and physical, Dr. Mirza states, “needs a
10
                      echo [sic] and Lexiscan stress test, along with treatment as per,
11                    will be addressed as well. In the ER cardiac enzymes were not
                      elevated.    EKG showed nonspecific changes no acute ST
12                    elevations seen.”

13                    Despite being admitted with a noncardiac problem with a recent
                      history of cardiac admissions and cardiac testing, repeat cardiac
14
                      testing was ordered by Dr. Mirza and performed by Desert View
15                    Hospital.

16                    None of these tests were indicated and did not correlate with
                      Patient 34’s complaints during the hospitalization.
17
                      Desert View Hospital, not only did it jeopardize the health and
18
                      safety of Patient 34 (who was 91 years old) by performing the
19                    various unnecessary tests on Patient 34, Relator believes that
                      Desert View Hospital willfully and fraudulently submitted a claim
20                    for thousands of dollars for these unnecessary medical tests and
                      was paid by the government in violation of the False Claims Act.
21
        148.   Patient 35:
22
                      Patient 35 presented to Desert View Hospital on ______________
23
                      with shortness of breath and palpitations and was found to have
24                    atrial fibrillation.

25                    This was new onset, not accompanied by symptoms of acute
                      coronary syndrome, no EKG or cardiac enzyme evidence of
26                    myocardial ischemia. Despite the absence of an indication, the
                      patient underwent a nuclear stress test on _________________.
27

28                    The nuclear stress test was not indicated and did not correlate with
                      Patient 35’s complaints during the hospitalization.

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1                           Desert View Hospital, not only did it jeopardize the health and
2                           safety of Patient 35 by performing the unnecessary test on Patient
                            35, Relator believes that Desert View Hospital willfully and
3                           fraudulently submitted a claim for thousands of dollars for these
                            unnecessary medical tests and was paid by the government in
4                           violation of the False Claims Act.
5                           By performing an unnecessary test on Patient 35, Relator believes
6                           that Desert View Hospital willfully and fraudulently submitted a
                            claim for this unnecessary medical test and was paid by the
7                           government in violation of the False Claims Act.

8             149.   In addition to failing to transfer Patients 1, 2, 4, 5, and 15 to a higher level of care
9
     facility, these patients were also subjected to multiple unnecessary tests without any basis. None of
10
     the tests these patients were subjected to were relevant to their cause for admission and provided no
11
     added value in their diagnosis and treatment. By performing unnecessary tests on Patients 1,2, 4, 5,
12
     and 15, Relator believes that Desert View Hospital willfully and fraudulently submitted claims for
13

14   these unnecessary medical tests and was paid by the government for said claims in violation of the

15   False Claims Act.

16   (3)      Desert View Hospital Fraudulently and Knowingly Attributed False Diagnoses and
              Levels of Severity of Illness to Patients in Order to Increase Its Billing
17
              Charges/Reimbursements from, among others, Medicare and Medicaid. This practice is
18            known as “upcoding”

19            150.   Patient 36:

20                          Patient 36 presented to Desert View Hospital on ___________. He
                            was admitted with noncardiac chest pain and had a normal nuclear
21
                            stress test on ___________.
22
                            However, Patient 36 was discharged with a diagnosis of Acute
23                          Coronary Syndrome (“ACS”), which reimburses at a higher rate
                            than non-specific chest pain.
24
                            By “upcoding” Patient 36’s diagnosis, Relator believes that Desert
25
                            View Hospital willfully and fraudulently submitted a claim for the
26                          higher reimbursing code and was paid by the government in
                            violation of the False Claims Act.
27
     ///
28

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              151.   Patient 37:
1

2                           Patient     37 presented    to    Desert    View     Hospital
                            on _______________ Multiple diagnoses are listed on page two
3                           (2) of the Emergency Department Summary of Care.

4                           Patient 37’s primary symptom was shortness of breath related, with
                            an underlying diagnosis of congestive heart failure, along with
5                           atrial fibrillation and rapid ventricular response.
6
                            Two (2) diagnoses are included that would increase the
7                           reimbursement for this patient’s admission: (1) transient cerebral
                            ischemia not specified; and (2) acute renal failure not specified.
8
                            There is no documentation that Patient 37 had any kind of cerebral
9
                            ischemic event. With respect to Patient 37’s kidney function,
10                          Patient 37’s parameters were only those of chronic kidney disease
                            stage II with BUN of 17 creatinine of 0.89, which are not
11                          abnormal in a 78-year-old female.

12                          These very same diagnoses are carried forward to Patient 37’s
                            _____________ admission. These very same diagnoses are carried
13
                            forward to Patient 37’s _____________ re-admission.
14
                            By “upcoding” Patient 37’s diagnosis, Relator believes that Desert
15                          View Hospital willfully and fraudulently submitted claims for the
                            higher reimbursing codes and was paid by the government in
16                          violation of the False Claims Act.
17
              152.   Patient 38:
18
                            Patient   38 presented       to    Desert     View      Hospital
19                          on ____________. Patient 38’s admission diagnosis was coded as
                            acute myocardial infarction, unspecified, ICD 10 code I21.9, and
20                          acute embolism and thrombosis of unspecified vein ICD 10 code
                            I82.90
21

22                          These codes reimburse at a much higher rate than chest pain.
                            However, there was no EKG or enzyme evidence that the patient
23                          had sustained a myocardial infarction. In fact, the Dr. Mirza
                            diagnosis on admission was congestive heart failure.
24
                            By “upcoding” Patient 38’s diagnosis, Relator believes that Desert
25
                            View Hospital willfully and fraudulently submitted a claim for the
26                          higher reimbursing code and was paid by the government in
                            violation of the False Claims Act.
27
     ///
28

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        153.   Patient 39:
1

2                     Patient     39 presented       to     Desert      View      Hospital
                      on _____________. The admission BUN and creatinine are 35
3                     and 2.0, respectively, consistent with chronic kidney disease.

4                     However, in the discharge summary, a diagnosis of acute renal
                      failure (which did not exist) was substituted for chronic kidney
5                     disease. The former reimburses at a higher rate than the latter. In
6                     addition, the discharge diagnosis was given as “systolic
                      dysfunction” (heart failure), which did not exist based on the
7                     echocardiogram that was previously performed.

8                     By “upcoding” Patient 39’s diagnosis and falsely creating a “heart
                      failure” diagnosis, Relator believes that Desert View Hospital
9
                      willfully and fraudulently submitted a claim for the higher
10                    reimbursing code and was paid by the government in violation of
                      the False Claims Act.
11
        154.   Patient 40:
12
                      Patient    40 presented   to    Desert    View      Hospital
13
                      on ______________. The admission diagnosis and discharge
14                    diagnosis were stated to be acute renal failure, resolved at
                      discharge.
15
                      However, the patient’s admission BUN and creatinine were
16                    completely normal at 20 and 1.29, respectively. The calculated
                      GFR was 54, which is consistent with chronic kidney disease stage
17
                      III, not the stated diagnosis code of acute renal failure. A
18                    diagnosis of Acute Renal Failure reimburses at a significantly
                      higher level than chronic kidney disease.
19
                      By “upcoding” Patient 40’s diagnosis, Relator believes that Desert
20                    View Hospital willfully and fraudulently submitted a claim for the
                      higher reimbursing code and was paid by the government in
21
                      violation of the False Claims Act.
22
        155.   Patient 41:
23
                      Patient 41 presented to Desert View Hospital on ___________
24                    with a chief complaint of left lower quadrant pain that began the
                      day before after he walked into a pole, which was sticking out of
25
                      his yard.
26
                      There is no documentation on the history or the physical exam of
27                    heart failure or ischemic heart disease, yet the Emergency
                      Department Summary of Care (page 2) provides a diagnosis of
28

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                            congestive heart failure, chest pain and acute ischemic heart
1                           disease ICD 10 code I24.9.
2
                            By “upcoding” Patient 41’s diagnosis, Relator believes that Desert
3                           View Hospital willfully and fraudulently submitted a claim for the
                            higher reimbursing code and was paid by the government in
4                           violation of the False Claims Act.
5             156.   Patient 42:
6
                            Patient 42 presented to Desert View Hospital on __________ with
7                           chest pain. Patient 42 has a history of coronary disease and
                            previous stenting. Patient 42’s cardiac enzymes and EKG were
8                           negative for ischemic injury.
9
                            However, on page two (2) of the emergency department summary
10                          of care, one of the diagnoses is acute myocardial infarction,
                            unspecified to which is attached to the ICD 10 Code I. 21.9.
11
                            Patient 42 did not have myocardial infarction. Diagnosing Patient
12                          42 and coding Patient 42 for this diagnosis instead of chest pain
                            would result in significantly higher reimbursement.
13

14                          By “upcoding” Patient 42’s diagnosis, Relator believes that Desert
                            View Hospital willfully and fraudulently submitted a claim for the
15                          higher reimbursing code and was paid by the government in
                            violation of the False Claims Act.
16
              157.   In addition to being subjected to unnecessary testing, Patient 25 was upcoded to MI
17

18   and Patient 27 was upcoded to sepsis. Relator believes that Desert View Hospital willfully and

19   fraudulently submitted claims for these Patient 25 and Patient 27 and was paid by the government for

20   said claims in violation of the False Claims Act.
21
     (4)      Desert View Hospital Fraudulently and Knowingly Performed Procedures for Which
22            Desert View Hospital was Not Properly Staffed and/or Equipped to Perform

23            158.   Patient 43:

24                          Patient 43 presented to Desert View Hospital on ____________
                            with a chief complaint of nausea and vomiting and generalized
25
                            weakness going on for a week.
26
                            Patient 43’s admission EKG showed atrial fibrillation with rapid
27                          ventricular response. Patient 43 underwent an echocardiogram
                            which in this context is appropriate. However, despite the lack of
28

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                           an indication based on appropriate use criteria, Patient 43
1                          underwent a nuclear stress test.
2
                           In addition, a cardioversion (a procedure involving direct shock of
3                          the patient’s heart while sedated) was performed on Patient 43 for
                           which there was not appropriate staff (no anesthesiologist/nurse
4                          anesthetist), equipment (no transesophageal echo), or facility (no
                           procedure room), which placed Patient 43 at a high risk for, among
5                          other things, stroke and respiratory complications.
6
                           Desert View Hospital, not only did it jeopardize the health and
7                          safety of Patient 43, Relator believes that Desert View Hospital
                           willfully and fraudulently submitted a claim for thousands of
8                          dollars for services rendered to Patient 43 and was paid by the
                           government based on a false certification of compliance with
9
                           Federal Regulations and EMTALA in violation of the False Claims
10                         Act.

11          159.   Patient 11, previously discussed, was also admitted to Desert View Hospital on or about

12   ______________.     At that time, Patient 11 underwent a cardioversion for which there was not
13
     appropriate staff (no anesthesiologist/nurse anesthetist), equipment (no transesophageal echo), or
14
     facility (no procedure room).    In this case, Patient 11 did suffer a stroke as of a result of the
15
     cardioversion, which required Patient 11 to be readmitted and inappropriately not transferred to a
16
     stroke center on ______________. See Braunwald’s Cardiology Practice Standards, pg. 735-36.
17

18          160.   Desert View Hospital, not only did it jeopardize the health and safety of Patient 11,

19   Relator believes that Desert View Hospital       willfully and fraudulently submitted a claim for

20   thousands of dollars for services rendered to Patient 11 and was paid by the government based on a
21
     false certification of compliance with Federal Regulations and EMTALA in violation of the False
22
     Claims Act.
23
            161.   Patient 34, previously discussed, had a pacemaker implanted at Desert View Hospital
24
     on or about _______________. However, at the time, Desert View Hospital was not properly staffed
25

26   (no anesthesiologist/nurse anesthetist, staff trained to assist in cardiac procedures, and/or staff to

27   address complications) and was not properly equipped (no cardiac cath lab) to implant pacemakers.

28

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     See Complications and Health Care Costs Associated with Transvenous Cardiac Pacemakers in a
1

2    Nationwide Assessment, American College of Cardiology Foundation (2017).

3             162.   Desert View Hospital, not only did it jeopardize the health and safety of Patient 34,

4    Relator believes that Desert View Hospital        willfully and fraudulently submitted a claim for
5    thousands of dollars for services rendered to Patient 11 and was paid by the government based on a
6
     false certification of compliance with Federal Regulations and EMTALA in violation of the False
7
     Claims Act.
8
              163.   Patient 8, previously discussed, underwent a cardioversion for which there was not
9

10   appropriate staff (no anesthesiologist/nurse anesthetist), equipment (no transesophageal echo), or

11   facility (no procedure room).

12            164.   Desert View Hospital, not only jeopardized the health and safety of Patient 8, but
13
     Relator believes, that it willfully and fraudulently submitted a claim for thousands of dollars for
14
     services rendered to Patient 8 and was paid by the government based on a false certification of
15
     compliance with Federal Regulations and EMTALA in violation of the False Claims Act.
16
     (5)      Desert View Hospital Fraudulently and Knowingly used “Swing Beds” as Inpatient Acute
17
              Care Hospital Beds in Violation of CAH Regulations
18
              165.   As another condition for participation, CMS requires that a CAH maintain “no more
19
     than 25 inpatient beds. Inpatient beds may be used for either inpatient or swing-bed services.” 42
20
     CFR § 485.620(a) (emphasis added).
21

22            166.   Relator is providing thirteen (13) Admission Summary Sheets where patients admitted

23   into Desert View Hospital were placed in a “swing bed” despite the a diagnosis of (among other

24   things) atrial fibrillation, chest pain, uncontrolled diabetes, congestive heart failure, sepsis, acute
25
     coronary syndrome, cerebrovascular accident, and transient ischemic attack.
26
              167.   Said patients should have been admitted into an acute care bed or transferred to an
27
     appropriate higher level of care hospital.
28

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            168.     Relator believes that Desert View Hospital willfully, fraudulently, and frequently
1

2    submitted claims for hundreds of thousands (likely millions) of dollars for patients unlawfully placed

3    in “swing beds” (instead of an acute care bed) and was paid by the government based on a false

4    certification of compliance with CAH regulations in violation of the False Claims Act.
5                                            FIRST CLAIM FOR RELIEF
6
                           Violations of the Federal False Claims Act, 31 U.S.C. § 3729(a)
7
            169.     Relator incorporates paragraphs 1 through 168 of this Complaint as though fully set
8
     forth herein.
9

10          170.     As described above, Desert Valley Hospital has submitted and/or caused to be

11   submitted false or fraudulent claims by engaging in a widespread scheme that entailed the following:

12                   (1) fraudulently and knowingly admitting patients to Desert View Hospital who
13
                     required transfer to a higher level of care hospital in order to retain patients at Desert
14
                     View Hospital in violation of CMS regulations and EMTALA, which resulted in
15
                     increased billing charges and reimbursements from, among others, Medicare and
16
                     Medicaid;
17

18                   (2) fraudulently and knowingly subjecting patients to a multitude of unnecessary

19                   medical testing/procedures in order to increase billing charges and reimbursements

20                   from, among others, Medicare and Medicaid;
21
                     (3) fraudulently and knowingly attributing false diagnoses and levels of severity of
22
                     illness to patients in order to increase its billing charges and reimbursements from,
23
                     among others, Medicare and Medicaid. This billing practice is known as “upcoding;”
24
                     (4) fraudulently and knowingly performing medical procedures that it was not equipped
25

26                   and/or staffed to perform (such as pacemaker implants and cardioversions) in violation

27                   of, among other things, CAH regulations and EMTALA in order to increase its billing

28                   charges/reimbursements from, among others, Medicare; and

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                      (5) fraudulently and knowingly using “swing beds” as inpatient acute care hospital
1

2                     beds in violation of CAH regulations (which limit Desert View Hospital to twenty-five

3                     (25) acute hospital beds) in order to increase its billing charges and reimbursements

4                     from, among others, Medicare and Medicaid.
5           171.      In doing so, Desert Valley Hospital has, among other things, violated:
6
                      1.     31 U.S.C. § 3729(a)(1)(A) by knowingly presenting, or causing to be presented
7
     false or fraudulent claims for payment or approval;
8
                      2.     31 U.S.C. § 3729(a)(1)(B) by knowingly making, using or causing to be made
9

10   or used, a false record or statement material to a false or fraudulent claim; and/or

11                    3.     31 U.S.C. § 3729(a)(1)(G) by knowingly making, using, or causing to be made

12   or used, a false record or statement material to an obligation to pay or transit money or property to the
13
     United States Government, or knowingly concealing or knowingly and improperly avoiding or
14
     decreasing an obligation to pay or transmit money or property to the United States Government.
15
            172.      Because of the false or fraudulent claims made by Desert View Hospital, the United
16
     States has suffered and continues to suffer damages valued in the millions of dollars at the expense of
17

18   taxpayers.

19          WHEREFORE, Relator prays for judgment against Desert View Hospital as follows:

20          1. Desert View Hospital to pay an amount equal to three (3) times the amount of damages the
21
     United States has sustained because of Desert View Hospital’s actions, plus a civil penalty against
22
     Desert View Hospital of not less than $5,000.00 and not more than $10,000.00 for each violation of 31
23
     U.S.C. § 3729;
24
            2. Relator be awarded the maximum allowed pursuant to 31 U.S.C. § 3730(d);
25

26          3. Desert View Hospital to cease and desist from violating the False Claims Act, 31 U.S.C. §

27   3729, et seq.;

28

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               4. Relator be awarded all costs of this action, including attorney fees, expenses, and costs
1

2    pursuant to 31 U.S.C. § 3730(d); and

3              5. The United States and Relator be granted all such other relief as the Court deems just and

4    proper.
5              DATED this 14th day of February, 2020.
6
                                                            JESSE SBAIH & ASSOCIATES, LTD.
7

8                                                            By /s/ Jesse M. Sbaih________________
                                                               Jesse M. Sbaih (#7898)
9                                                              Ines Olevic-Saleh (#11431)
10                                                             The District at Green Valley
                                                                170 South Green Valley Parkway, Suite 280
11                                                             Henderson, Nevada 89012
                                                                    Attorneys for Relator
12

13
                                  RELATOR’S DEMAND FOR JURY TRIAL
14
               Relator, by and through the law firm of Jesse Sbaih & Associates, Ltd., hereby demands a jury
15
     trial of all issues in the above-captioned matter.
16
               DATED this 14th day of February, 2020.
17

18
                                                            JESSE SBAIH & ASSOCIATES, LTD.
19

20                                                           By /s/ Jesse M. Sbaih_________________
                                                               Jesse M. Sbaih (#7898)
21
                                                               Ines Olevic-Saleh (#11431)
22                                                             The District at Green Valley
                                                                170 South Green Valley Parkway, Suite 280
23                                                             Henderson, Nevada 89012
                                                                    Attorneys for Relator
24

25

26

27

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1                                   CERTIFICATE OF SERVICE

2          Pursuant to FRCP Rule 5(b), I certify that I am an employee of the law firm of Jesse Sbaih &
3
     Associates, Ltd., and that on this 14th day of February, 2020, I caused FIRST AMENDED
4
     COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT JURY TRIAL
5
     DEMANDED to be served via electronic service to the following:
6
           John H. Cotton, Esq.
7
           JOHN H. COTTON & ASSOCIATES, LTD.
8          7900 West Sahara, Suite 200
           Las Vegas, NV 89117
9          jhcotton@jhcottonlaw.com
                  Attorneys for Defendants
10

11
           Roger W. Wenthe, Esq.
12         U.S. ATTORNEY’S OFFICE
           501 Las Vegas Boulevard South, Suite 1100
13         Las Vegas, NV 89101
           roger.wenthe@usdoj.gov
14                Attorneys for the United States
15

16

17                                       /s/ Jennifer Davidson___________________
                                        An employee of Jesse Sbaih & Associates, Ltd.
18

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